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 1   JOSEPH C. GRATZ (CA SBN 240676)                  ANDREW M. GASS (SBN 259694)
     JGratz@mofo.com                                  Andrew.Gass@lw.com
 2   TIFFANY CHEUNG (CA SBN 211497)                   JOSEPH R. WETZEL (SBN 238008)
     TCheung@mofo.com                                 Joe.Wetzel@lw.com
 3   VERA RANIERI (CA SBN 271594)                     LATHAM & WATKINS LLP
     VRanieri@mofo.com                                505 Montgomery Street, Suite 2000
 4   JOYCE C. LI (CA SBN 323820)                      San Francisco, California 94111
     JoyceLi@mofo.com                                 Telephone:    (415) 391-0600
 5   MELODY E. WONG (SBN 341494)
     MelodyWong@mofo.com                              ROBERT A. VAN NEST (CA SBN 84065)
 6   MORRISON & FOERSTER LLP                          rvannest@keker.com
     425 Market Street,                               R. JAMES SLAUGHTER (CA SBN 192813)
 7   San Francisco, California 94105-2482             rslaughter@keker.com
     Telephone:    (415) 268-7000                     PAVEN MALHOTRA (CA SBN 258429)
 8   Facsimile:    (415) 268-7522                     pmalhotra@keker.com
                                                      MICHELLE S. YBARRA (CA SBN 260697)
 9   ROSE S. LEE (CA SBN 294658)                      mybarra@keker.com
     RoseLee@mofo.com                                 NICHOLAS S. GOLDBERG (CA SBN
10   ALEXANDRA M. WARD (CA SBN 318042)                273614)
     AlexandraWard@mofo.com                           ngoldberg@keker.com
11   MORRISON & FOERSTER LLP                          THOMAS E. GORMAN (279409)
     707 Wilshire Boulevard                           tgorman@keker.com
12   Los Angeles, California 90017-3543               KATIE LYNN JOYCE (308263)
     Telephone: (213) 892-5200                        kjoyce@keker.com
13   Facsimile:    (213) 892-5454                     KEKER, VAN NEST & PETERS LLP
     [CAPTION CONTINUED ON NEXT PAGE]                 633 Battery Street
14                                                    San Francisco, CA 94111-1809
     Attorneys for Defendants                         Telephone:     (415) 391-5400
15   OPENAI, INC., OPENAI, L.P., OPENAI               Facsimile:     (415) 397-7188
     OPCO, L.L.C., OPENAI GP, L.L.C., OPENAI
16   STARTUP FUND GP I, L.L.C., OPENAI
     STARTUP FUND I, L.P., AND OPENAI
17   STARTUP FUND MANAGEMENT, LLC
18
                                   UNITED STATES DISTRICT COURT
19
                                 NORTHERN DISTRICT OF CALIFORNIA
20
                                       SAN FRANCISCO DIVISION
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22   IN RE OPENAI CHATGPT LITIGATION                   Master File No. 3:23-cv-03223-AMO
23   This document relates to:                         DECLARATION OF MICHAEL
                                                       TRINH IN SUPPORT OF
24                                                     DEFENDANTS’ ADMINISTRATIVE
     All Actions
                                                       MOTION TO FILE UNDER SEAL
25
                                                       Judge: Hon. Robert M. Illman
26

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28
      TRINH DECLARATION ISO MOTION TO FILE
      UNDER SEAL
      MASTER FILE NO.3:23-CV-03223-AMO
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 1   MAX I. LEVY (CA SBN 346289)
     MLevy@mofo.com
 2   MORRISON & FORESTER LLP
     755 Page Mill Road
 3   Palo Alto, California 94304-1018
     Telephone:     (650) 813-5600
 4   Facsimile:     (650) 494-0792

 5   ERIC K. NIKOLAIDES (pro hac vice)
     ENikolaides@mofo.com
 6   MORRISON & FORESTER LLP
     250 West 55th Street
 7   New York, NY 10019-9601
     Telephone:    (212) 468-8000
 8   Facsimile:    (212) 468-7900

 9   SARANG VIJAY DAMLE (pro hac vice)
     Sy.Damle@lw.com
10   ELANA NIGHTINGALE DAWSON (pro hac vice)
     Elana.Nightingaledawson@lw.com
11   LATHAM & WATKINS LLP
     555 Eleventh Street, NW, Suite 1000
12   Washington, D.C. 20004
     Telephone: (202) 637-2200
13
     ALLISON L. STILLMAN (pro hac vice)
14   Alli.Stillman@lw.com
     RACHEL R. BLITZER
15   Rachel.blitzer@lw.com (pro hac vice pending)
     LATHAM & WATKINS LLP
16   1271 Avenue of the Americas
     New York, NY 10020
17   Telephone:    (212) 751-4864
18

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      UNDER SEAL                                    2
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